           Case 2:16-cr-00198-SMJ            ECF No. 157                filed 03/14/17              PageID.422 Page 1 of 2
✎ PS 8
(3/15)
                                                                                                                        FILED IN THE
                              UNITED STATES DISTRICT COURT                                                          U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON


                                                                      for                                      Mar 14, 2017
                                             Eastern District of Washington                                        SEAN F. MCAVOY, CLERK




U.S.A. vs.                 Thomason, Mandy Lee                                        Docket No.              2:16CR00198-SMJ-5


                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Mandy Lee Thomason, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 20th day of December 2016 under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

Special Condition #24: Substance Abuse Evaluation: Defendant shall participate in substance abuse evaluation as directed
to do so by Pretrial Services.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                    (If short insert here; if lengthy write on separate sheet and attach.)


Violation #4: The defendant tested positive for the presence of amphetamine and methamphetamine on February 24, 2017.

Violation #5: The defendant tested presumptively positive for the presence of amphetamine on March 9, 2017.

Violation #6: The defendant has failed to complete a substance abuse evaluation.

         PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATIONS
                              PREVIOUSLY REPORTED TO THE COURT

                                                                                         I declare under the penalty of perjury
                                                                                         that the foregoing is true and correct.
                                                                                         Executed on:        March 14, 2017
                                                                             by          s/Erik Carlson
                                                                                         Erik Carlson
                                                                                         U.S. Pretrial Services Officer
         Case 2:16-cr-00198-SMJ         ECF No. 157      filed 03/14/17      PageID.423 Page 2 of 2
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  Re: Thomason, Mandy Lee
  March 14, 2017
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THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ x]     The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature of Judicial Officer
                                                                        March 14, 2017
                                                                      Date
